Case 3:18-cv-01163-NJR-GCS Document 6 Filed 07/30/18 Page1of7 Page ID #14

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS
(East St. Louis Division)

JAMES M. BISHOP,
Plaintiff,

vs. Case No.: 3:18-cv-01163-NJR-DGW
PRECOAT METALS CORP.,
an Indiana corporation, and
SEQUA CORPORATION,

a Delaware corporation, JURY TRIAL DEMANDED

Ce eee eee eS

Defendants.

PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES
Disability Discrimination and Retaliation
in Violation of the Americans With Disabilities Act of 1990,
42 U.S.C. § 12101 et seq., as amended by the
Americans With Disabilities Act Amendments Act of 2008 (ADAAA)

COMES NOW Plaintiff, James M. Bishop, by counsel, and for his First Amended
Complaint for Damages against Defendants, Precoat Metals Corp., an Indiana corporation, and
Sequa Corporation, a Delaware corporation, states to the Court as follows:

fs That Plaintiff, James M. Bishop, is, and was at all times pertinent to this cause of
action herein, a citizen of the United States of America and a resident of Jefferson County,
Missouri.

2: That Defendant, Precoat Metals Corp., is, and was at all times pertinent to this cause
of action herein, an Indiana corporation, licensed and in good standing to do business in the State

of Illinois, and has offices and facilities, and is engaged in the metals industry, at its plant located

in Madison County, Illinois at #25 Northgate Industrial Drive, Granite City, Illinois 62040.
Case 3:18-cv-01163-NJR-GCS Document6 Filed 07/30/18 Page 2of7 Page ID #15

=F That Defendant, Sequa Corporation, is, and was at all times pertinent to this cause
of action herein, a Delaware corporation, licensed and in good standing to do business in the State
of Missouri, and has offices and facilities, and is engaged in the metals industry, in the City of St.
Louis, Missouri, in the Blanke Building on Papin Street.

4, That Defendant, Precoat Metals Corp., an Indiana corporation, is, and was at all
times pertinent to this cause of action herein, a Division of Sequa Corporation, a Delaware
corporation, both doing business at the plant located in Madison County, Illinois at #25 Northgate
Industrial Drive, Granite City, Illinois 62040.

2; That jurisdiction over this First Amended Complaint is based on the Americans
with Disabilities Act of 1990, 42 U.S.C. § 12101 et seq., as amended by the Americans with
Disabilities Act Amendments Act of 2008 (ADAAA).

6. That the amount in controversy exceeds Seventy Five Thousand Dollars
($75,000.00), exclusive of interest and costs.

hs That Defendant, Precoat Metals Corporation, an Indiana corporation, is an
employer within the meaning of the Americans with Disabilities Act of 1990, 42 U.S.C. § 12101
et seq., as amended by the Americans with Disabilities Act Amendments Act of 2008 (ADAAA),
in that Defendant is, and was at all times pertinent to this cause of action herein, a corporation that
has employed fifteen (15) or more employees for each working day during each of twenty (20) or
more calendar weeks in the current and preceding calendar year.

8. That Defendant, Sequa Corporation, a Delaware corporation, is an employer within
the meaning of the Americans with Disabilities Act of 1990, 42 U.S.C. § 12101 et seq., as amended
by the Americans with Disabilities Act Amendments Act of 2008 (ADAAA), in that Defendant is,

and was at all times pertinent to this cause of action herein, a corporation that has employed fifteen
Case 3:18-cv-01163-NJR-GCS Document6 Filed 07/30/18 Page 3of7 Page ID #16

(15) or more employees for each working day during each of twenty (20) or more calendar weeks
in the current and preceding calendar year.

9. That Plaintiff was employed with Defendants for over thirty-three (33) years, from
February 13, 1984 until he was terminated on July 11, 2017, after being suspended for an incident
occurring on June 21, 2017.

10. That Plaintiff's title at the time of his termination was Operations Support/General
Laborer.

11. That throughout the time in which Plaintiff was employed with Defendants,
Plaintiff performed his job satisfactorily.

12. That Plaintiff had a significant work-related injury to his right hand on August 31,
1989, wherein a blade cut off several of his fingers, which were thereafter reattached, but as a
result he has severe and permanent limitations of his right hand, including lack of feeling and
sensation and loss of grip.

13. That Plaintiff has a disability as a result of the severe and permanent limitations of
his right hand.

14. That on September 28, 2016, after having been an Inspector, Plaintiff was put back
on the floor to do Operations Support, which, because of repetitious movement from said work,
caused strain and swelling of his right hand.

15. That after being in this situation for several months, Plaintiff told his Union Chief
Stewart, Guy Briley, initially on March 7, 2017, and then repeatedly but on discreet dates over the
ensuing weeks and months thereafter, up to and including the week of May 10, 2017, that he

needed reasonable accommodations for his disability, in particular, Plaintiff requested that Guy
Case 3:18-cv-01163-NJR-GCS Document6 Filed 07/30/18 Page 4of7 Page ID #17

Briley speak with Pat Copeland, the Plant/Production Manager, about moving Plaintiff to
Shipping.

16. That in response, Guy Briley told Plaintiff, initially on March 7, 2017 and on March
8, 2017, and then repeatedly but on discreet dates over the ensuing weeks and months thereafter,
up to and including the week of May 10, 2017, that Pat Copeland had said that he would not
accommodate Plaintiff by moving him from the floor to Shipping, even though Defendants had
moved other, non-disabled employees from the floor to Shipping, such as, and by way of example,
Jeremy Johns on February 13, 2017 and February 20, 2017, Tyrone Jones on February 20, 2017,
Huey (last name unknown) on December 21, 2016, May 18, 2017 and May 19, 2017, Leonard Poe
on February 27, 2017, March 15, 2017, March 29, 2017, April 12, 2017, April 17, 2017 and May
10, 2017, and Andrew Durie on May 10, 2017.

17. That Plaintiff also sent a letter, dated June 6, 2017, to Kurt Russell, President of
Defendant Precoat Metals Corp., and to Jerry Dombeck, Chief Executive Officer of Defendant
Precoat Metals Corp., stating that “I have a disability from 1989 at Precoat” and that “I want to be
put back in Shipping.”

18. That on June 21, 2017, an incident occurred in the plant in that the production line
“crashed” as metal was being “‘coated”.

19. That as a result of the production line “crashing”, which is a major problem, certain
workers, including Plaintiff, were instructed to be in the bridle with “lock out/tag out” (LOTO) in
place in order to untangle the crashed steel, at which time everyone else not so instructed by the

foreman was not “locked out’’.
Case 3:18-cv-01163-NJR-GCS Document6 Filed 07/30/18 Page5of7 Page ID #18

20. That Defendants claim that Plaintiff committed a safety violation by being in the

bridle while the production line was “crashed”, thereby resulting in his termination on July 11,

2017.

21. That Plaintiff did not commit any such safety violation because he was not in the

bridle while the production line was “crashed” but instead, when everyone was told to “unlock”,

he “unlocked” and moved to the ramp, and he remained on the ramp the entire time the production

line remained “crashed”, and he did not cross the safety rail/safety guard.

22. That other employees who do not have any known disabilities did commit safety

violations but have not been terminated as a result thereof. Examples include the following:

A,

Fred Haddox. Per an employee named Jim Lopez, Fred Haddox was an
Entry Operator, on the Front End. On approximately March 14, 2018, he
was in the line/tower and was cutting out bad steel strips, even though there
had not yet been a “lock out/tag out” (LOTO). He was suspended for
approximately ten (10) days but was not terminated.

Dennis Zimmerman. He is an Entry Operator. In April or May 2017, he
was caught by Justin Butts, the employee responsible for Safety, on a
forklift with no attached seatbelt. He was suspended for six (6) to eight (8)
weeks but was not terminated.

Mark Lester. He is a Coater Operator. In approximately 2015 and 2016, he
was caught red-handed smoking in the facility. He was suspended for five

(5) days but was not terminated.
Case 3:18-cv-01163-NJR-GCS Document6 Filed 07/30/18 Page 6of7 Page ID #19

D. Fred Neal. He is an Inspector. In September 2016, he was caught smoking.
He was suspended for between five (5) and ten (10) days but was not
terminated.

23. That Plaintiff was harassed and otherwise discriminated against, including being
given unwarranted discipline, suspended and then by being terminated from his employment, on
the basis of his disability and in retaliation for seeking reasonable accommodations for his
disability, in violation of the Americans with Disabilities Act of 1990, 42 U.S.C. § 12101 et seq.,
as amended by the Americans with Disabilities Act Amendments Act of 2008 (ADAAA).

24. That on February 23, 2018, Plaintiff filed a Charge of Discrimination with the St.
Louis District Office of the Equal Employment Opportunity Commission, which was assigned
EEOC Charge Number 440-2018-01900.

25. That the Equal Employment Opportunity Commission issued Plaintiff a Notice of
Right to Sue Letter, dated March 14, 2018.

26. That as a proximate result of Defendants terminating Plaintiff from his
employment, Plaintiff has and will continue to sustain damages, consisting of past, present and
prospective losses in wages and benefits.

27. Further, that as a proximate result of Defendants harassing and otherwise
discriminating against Plaintiff, including giving him unwarranted discipline, suspending him and
then by terminating him from his employment, Plaintiff has sustained emotional distress.

28. That the conduct of Defendants was done willfully, wantonly and maliciously.

WHEREFORE, Plaintiff, James M. Bishop, prays for judgment against Defendants,
Precoat Metals Corp., an Indiana corporation, and Sequa Corporation, a Delaware corporation,

jointly and severally, for actual, compensatory and punitive damages in a fair and reasonable
Case 3:18-cv-01163-NJR-GCS Document 6 Filed 07/30/18 Page 7of7 Page ID #20

amount in excess of Seventy-Five Thousand Dollars ($75,000.00); appropriate equitable relief;
reasonable attorney’s fees; for his Court costs and expenses incurred herein; and for whatever and

further relief the Court deems just and proper.

Respectfully submitted,

By: Sad Fa. Pe ayemage.

David M. Heimos, #6182752
Attorney for Plaintiff

230 8. Bemiston, Suite 1200
Clayton, Missouri 63105

(314) 862-3333 Ext. 17

(314) 862-0605 Facsimile
davidmheimos@heimoslaw.com

 

CERTIFICATE OF SERVICE
The undersigned hereby certifies that a true copy of the foregoing was furnished, via E-
mail to Kevin T. McLaughlin (ktm@greensfelder.com), Greensfelder, Hemker & Gale, P.C., 10

South Broadway, Suite 2000, St. Louis, Missouri 63102, this 707% day of July, 2018.
